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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:07CR287
                       Plaintiff,                )
                                                 )
       vs.                                       )              ORDER
                                                 )
KHA MANH NGUYEN,                                 )
BICH NGUYEN and                                  )
LIEN NGUYEN, a/k/a Lynn Wynn,                    )
                                                 )
                       Defendants.               )


       This matter is before the court on the motion for an extension of time by defendant
Lien Nguyen (Filing No. 60). Lien Nguyen seeks until February 29, 2008, in which to file
pretrial motions in accordance with the progression order (Filing No. 43). Lien Nguyen has
filed an affidavit wherein she consents to the motion and acknowledges she understands
the additional time may be excludable time for the purposes of the Speedy Trial Act. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Lien Nguyen's motion for an extension of time (Filing No. 60) is granted.
Lien Nguyen is given until on or before February 29, 2008, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
February 19, 2008 and February 29, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 19th day of February, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
